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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                     DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
                                                     § CASE NUMBER 6:12-CR-59-RC
 v.                                                  §
                                                     §
                                                     §
                                                     §
 RANDY CAMERON (10)                                  §




                REPORT AND RECOMMENDATION ON PETITION FOR
                 WARRANT FOR OFFENDER UNDER SUPERVISION


       Pending is a “Petition for Warrant or Summons for Offender under Supervision” filed May

4, 2017, alleging that the Defendant, Randy Cameron, violated his conditions of supervised

release. This matter is referred to the undersigned United States Magistrate Judge for review,

hearing, and submission of a report with recommended findings of fact and conclusions of law.

See United States v. Rodriguez, 23 F.3d 919, 920 n. 1 (5th Cir. 1994); see also 18 U.S.C. § 3401(1)

and Local Rules for the Assignment of Duties to United States Magistrate Judges.

                           I.      The Original Conviction and Sentence

       Randy Cameron was sentenced on May 14, 2014, by United States District Judge Michael

H. Schneider, of the Eastern District of Texas, after pleading guilty to the offense of Conspiracy

to Possess with Intent to Distribute Cocaine Base, a Class B felony. This offense carried a statutory

maximum imprisonment term of 40 years. The guideline imprisonment range, based on a total

offense level of 23 and a criminal history category of V, was 84 to 105 months. Judge Schneider

sentenced Defendant to 63 months of imprisonment followed by a 5-year term of supervised


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release subject to the standard conditions of release, plus special conditions to include financial

disclosure, drug testing and treatment and a $100 special assessment.

                                     II. The Period of Supervision

       On February 24, 2017, Defendant completed his period of imprisonment and began service

of the term of supervised release.

                                           III. The Petition

       United States Probation Officer Glenn Filla filed the Petition for Warrant for Offender

Under Supervision raising two allegations. The petition alleges that Randy Cameron violated the

following conditions of release:

       Allegation 1. The defendant shall not commit another federal, state, or local crime.
       Here, it is alleged that Defendant possessed and attempted to use a device filled
       with another person’s urine in an attempt to pass a drug test on April 20, 2017, in
       violation of Texas Health and Safety Code § 481.133.

       Allegation 2. The defendant shall refrain from excessive use of alcohol and shall
       not purchase, possess, use, distribute, or administer any narcotic or other controlled
       substance, or any paraphernalia related to such substances, except as prescribed by
       a physician. Here, it is alleged that the defendant admitted that he used cocaine on
       or about March 8, and March 16, 2017.

                                           IV. Proceedings

       On June 5, 2017, the undersigned convened a hearing pursuant to FED. R. CRIM. P. 32.1 to

hear evidence and arguments on whether the Defendant violated his conditions of supervised

release, and the appropriate course of action for any such violations.

       At the revocation hearing, counsel for the Government and the Defendant announced an

agreement had been reached as to a recommended disposition regarding the petition. The

Defendant agreed to plead “true” to Allegation 1 in the petition. In addition, the parties agreed

that the Defendant should be sentenced to a term of imprisonment of 9 months, to be followed by

3 years of supervised release.

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                                             V. Applicable Law

         According to 18 U.S.C. § 3583(e)(3), a court may revoke a term of supervised release and

require a defendant to serve in prison all or part of the term of supervised release authorized by

statute for the offense that resulted in such term of supervised release without credit for time

previously served on post-release supervision, if the court, pursuant to the Federal Rules of

Criminal Procedure applicable to revocation of probation or supervised release, finds by a

preponderance of the evidence that the defendant violated a condition of supervised release, except

that a defendant whose term is revoked under this paragraph may not be required to serve on any

such revocation more than 5 years in prison if the offense that resulted in the term of supervised

release is a Class A felony, more than 3 years if such offense is a Class B felony, more than 2 years

if such offense is a Class C or D felony, or more than 1 year in any other case. The original offense

of conviction here was a Class B felony; therefore, the maximum sentence is 3 years of

imprisonment.

         Supervised release shall be revoked upon a finding of a Grade A or B supervised release

violation. U.S.S.G. § 7B1.3(a)(1). Pursuant to 18 U.S.C. § 3583(g), the Court also shall revoke

the term of supervised release if Defendant possessed a controlled substance in violation of his

conditions. Evidence of drug use is sufficient to support a finding of possession of a controlled

substance within the meaning of 18 U.S.C. § 3583(g). See U.S. v. Smith, 978 F.2d 181 (5th Cir.

1992).

         According to U.S.S.G. § 7B1.1(a), 1 if the Court finds by a preponderance of the evidence

that Defendant violated his conditions of supervision by attempting to falsify a urine test, the

Defendant will be guilty of committing a Grade C violation. With Defendant’s original criminal


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 All of the policy statements in Chapter 7 that govern sentences imposed upon revocation of supervised release are
non-binding. See U.S.S.G. Ch. 7 Pt. A; see also United States v. Price, 519 Fed.Appx. 560, 562 (11th Cir. 2013).

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history category of V, the applicable guideline range for a Grade C violation is 7 to 13 months of

imprisonment.

       According to U.S.S.G. § 7B1.3(c)(1), where the minimum term of imprisonment

determined under U.S.S.G. § 7B1.4 is at least 1 month but not more than 6 months, the minimum

term may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of imprisonment that

includes a term of supervised release with a condition that substitutes community confinement or

home detention according to the schedule in U.S.S.G. § 5C1.1(e), for any portion of the minimum

term. According to U.S.S.G. § 7B1.3(c)(2), where the minimum term of imprisonment determined

under U.S.S.G. § 7B1.4 is more than 6 months but not more than 10 months, the minimum term

may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of imprisonment that

includes a term of supervised release with a condition that substitutes community confinement or

home detention according to the schedule in U.S.S.G. § 5C1.1(e), provided that at least one-half

of the minimum term is satisfied by imprisonment.

       U.S.S.G. § 7B1.3(c)(3) indicates in the case of a revocation based, at least in part, on a

violation of a condition specifically pertaining to community confinement, intermittent

confinement, or home detention, use of the same or a less restrictive sanction is not recommended.

According to U.S.S.G. § 7B1.3(d), any restitution, fine, community confinement, home detention

or intermittent confinement previously imposed in connection with a sentence for which

revocation is ordered that remains unpaid or unserved at the time of revocation shall be ordered to

be paid or served in addition to the sanction determined under U.S.S.G. § 7B1.4 and any such

unserved period of community confinement, home detention, or intermittent confinement may be

converted to an equivalent period of imprisonment.




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       The grade of the violation having the most serious grade is used to determine the guideline

range when there is more than one violation of the conditions of supervision, or the violation

includes conduct that constitutes more than one offense. U.S.S.G. § 7B1.1(b). Any term of

imprisonment imposed upon revocation of probation or supervised release shall be ordered to be

served consecutively to any sentence of imprisonment that the defendant is serving, whether or not

the sentence of imprisonment being served resulted from the conduct that is the basis of the

revocation of probation or supervised release.

       When a term of supervised release is revoked and the defendant is required to serve a term

of imprisonment, the court may include a requirement that the defendant be placed on a term of

supervised release after imprisonment. The length of such a term of supervised release shall not

exceed the term of supervised release authorized by statute for the offense that resulted in the

original term of supervised release, less any term of imprisonment that was imposed upon

revocation of supervised release. 18 U.S.C. § 3583(h); U.S.S.G. § 7B1.3(g)(2).

       In determining the Defendant’s sentence, the court shall consider:

       1. The nature and circumstances of the offense and the history and characteristics
          of the defendant. (18 U.S.C. § 3553(a)(1))

       2. The need for the sentence imposed: to afford adequate deterrence to criminal
          conduct; to protect the public from further crimes of the defendant; and to
          provide the defendant with needed educational or vocational training, medical
          care, or other correctional treatment in the most effective manner. (18 U.S.C. §
          3553(a)(2)(B)–(D))

       3. Applicable guidelines and policy statements issued by the Sentencing
          Commission, for the appropriate application of the provisions when modifying
          or revoking supervised release pursuant to 28 U.S.C. § 994(a)(3), that are in
          effect on the date the defendant is sentenced. (18 U.S.C. § 3553(a)(4) and 28
          U.S.C. § 994(a)(3))

       4. Any pertinent policy statement issued by the Sentencing Commission, pursuant
          to 28 U.S.C. § 994(a)(2), that is in effect on the date the defendant is sentenced.
          (18 U.S.C. § 3553(a)(5))

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       5. The need to avoid unwarranted sentence disparities among defendants with
          similar records who have been found guilty of similar conduct. (18 U.S.C. §
          3553(a)(6))

       6. The need to provide restitution to any victims of the offense.

18 U.S.C. §§ 3583(e) and 3553(a).

                                           VI. Analysis

       The Defendant pled “true” to Allegation 1 in the petition that alleges that he violated a

mandatory condition of release by committing another federal, state, or local crime. Based upon

the Defendant’s plea of “true” to this allegation in the Petition for Warrant or Summons for

Offender under Supervision and U.S.S.G. § 7B1.1(a), the undersigned finds that the Defendant

violated a condition of his supervised release.

       The undersigned has carefully considered each of the factors listed in 18 U.S.C. § 3583(e).

The Defendant’s violation is a Grade C violation, and his criminal history category is V. The

policy statement range in the Guidelines Manual is 7 to 13 months of imprisonment. The

Defendant did not comply with the conditions of supervision and has demonstrated an

unwillingness to adhere to conditions of supervision. Consequently, incarceration appropriately

addresses the Defendant’s violations. The sentencing objectives of punishment, deterrence and

rehabilitation, together with the aforementioned statutory sentencing factors, will best be served

by a prison sentence of 9 months, to be followed by 3 years of supervised release.

                                      VII. Recommendation

       It is recommended that the Court find that the Defendant violated a mandatory condition

of release by committing another federal, state, or local crime. The petition should be granted and

the Defendant’s supervised release should be revoked pursuant to 18 U.S.C. § 3583.




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       The Defendant should be sentenced to a term of 9 months of imprisonment, to be followed

by 3 years of supervised release. Any criminal monetary penalties previously ordered in the final

judgment should be imposed in this revocation, with all payments collected credited towards

outstanding balances. The Defendant requested to serve his prison term at the Federal Correctional

Institution in Seagoville, Texas, to facilitate family visitation. The Defendant’s request should be

accommodated, if possible.

       Before the conclusion of the hearing, the undersigned announced the foregoing

recommendation and notified Defendant of his right to object to this Report and Recommendation

and to be present and allocute before being sentenced by the Court. Defendant waived those rights

on the record and executed a written waiver in open court. The Government also waived its right

to object to the Report and Recommendation. It is, therefore, recommended that the Court revoke

Defendant’s supervised release and enter a Judgment and Commitment for him to be imprisoned

for a period of 9 months, to be followed by 3 years of supervised release.



           So ORDERED and SIGNED this 5th day of June, 2017.




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